 Case 2:17-cv-07327-JMA-SIL Document 1 Filed 12/15/17 Page 1 of 21 PageID #: 1



 THE ROSEN LAW FIRM, P.A.
 Laurence M. Rosen, Esq. (LR 5733)
 Phillip Kim, Esq. (PK 9384)
 275 Madison Ave., 34th Floor
 New York, New York 10016
 Telephone: (212) 686-1060
 Fax: (212) 202-3827
 Email: lrosen@rosenlegal.com
         pkim@rosenlegal.com

 Counsel for Plaintiff

 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

----------------------------------------------------------X
 PATRICK BELAND, INDIVIDUALLY AND Case No. 17-cv-7327
 ON       BEHALF           OF       ALL        OTHERS
 SIMILARLY SITUATED,                                        CLASS ACTION COMPLAINT FOR
                                                            VIOLATION OF THE FEDERAL
          Plaintiff,                                        SECURITIES LAWS

         vs.
                                                              CLASS ACTION
 LIBERTY TAX, INC., EDWARD L.
 BRUNOT, JOHN T. HEWITT, and                                  JURY TRIAL DEMANDED
 KATHLEEN E. DONOVAN,

          Defendants.
----------------------------------------------------------X

         Plaintiff Patrick Beland (“Plaintiff”) individually and on behalf of all other persons

 similarly situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s complaint against

 Defendants (defined below), alleges the following based upon personal knowledge as to Plaintiff

 and Plaintiff’s own acts, and upon information and belief as to all other matters based on the

 investigation conducted by and through Plaintiff’s attorneys, which included, among other

 things, a review of Securities and Exchange Commission (“SEC”) filings by Liberty Tax, Inc.

 (“Liberty Tax” or the “Company”), as well as media and analyst reports about the Company.




                                                         1
Case 2:17-cv-07327-JMA-SIL Document 1 Filed 12/15/17 Page 2 of 21 PageID #: 2



Plaintiff believes that substantial evidentiary support will exist for the allegations set forth herein

after a reasonable opportunity for discovery.

                                   NATURE OF THE ACTION

        1.       This is a federal securities class action on behalf of a class consisting of all

persons and entities, other than Defendants and their affiliates, who purchased publicly traded

Liberty Tax securities from June 29, 2016 through December 11, 2017, both dates inclusive

(“Class Period”), seeking to recover compensable damages caused by Defendants’ violations of

federal securities laws and pursue remedies under the Securities Exchange Act of 1934 (the

“Exchange Act”).

                                 JURISDICTION AND VENUE

        2.       The claims asserted herein arise under and pursuant to Sections 10(b) and 20(a) of

the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder (17

C.F.R. § 240.10b-5).

        3.       This Court has jurisdiction over the subject matter of this action pursuant to

Section 27 of the Exchange Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1331.

        4.       Venue is proper in this judicial district pursuant to Section 27 of the Exchange

Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1391(b) as the Company conducts business in this

judicial district.

        5.       In connection with the acts, conduct and other wrongs alleged herein, Defendants

either directly or indirectly used the means and instrumentalities of interstate commerce,

including but not limited to the United States mails, interstate telephone communications, and

the facilities of the national securities exchange.




                                                  2
Case 2:17-cv-07327-JMA-SIL Document 1 Filed 12/15/17 Page 3 of 21 PageID #: 3



                                            PARTIES

       6.      Plaintiff, as set forth in the accompanying PSLRA Certification, acquired Liberty

Tax securities at artificially inflated prices during the Class Period and was damaged upon the

revelation of the alleged corrective disclosures.

       7.      Defendant Liberty Tax provides tax preparation services and solutions in the

United States and Canada. The Company operates 212 tax offices in New York and over (40)

forty tax offices in this judicial district. Liberty Tax securities trade on NASDAQ under the

symbol “TAX.”

       8.      Defendant Edward L. Brunot (“Brunot”) has been the Company’s President and

Chief Executive Officer (“CEO”) since September 8, 2017. He previously served as Chief

Operating Officer since June 1, 2017.

       9.      Defendant John T. Hewitt (“Hewitt”) is the Company’s founder, and was its

President and CEO from October 1996 until his termination on September 5, 2017. He has been

the Chairman of the Board of Directors of the Company throughout the Class Period.

       10.     Defendant Kathleen E. Donovan (“Donovan”) has been the Company’s Chief

Financial Officer (“CFO”) throughout the Class Period. On November 7, 2017, the Company

announced Donovan’s resignation, effective at a future date.

       11.     Collectively, Defendants Brunot, Hewitt, and Donovan are herein referred to as

“Individual Defendants.”

       12.     Collectively, Defendant Liberty Tax and Individual Defendants are herein

referred to as “Defendants.”

       13.     Each of the Individual Defendants:

               a.      directly participated in the management of the Company;




                                                    3
Case 2:17-cv-07327-JMA-SIL Document 1 Filed 12/15/17 Page 4 of 21 PageID #: 4



                 b.       was directly involved in the day-to-day operations of the Company at the

                          highest levels;

                 c.       was privy to confidential proprietary information concerning the Company

                          and its business and operations;

                 d.       was directly or indirectly involved in drafting, producing, reviewing

                          and/or disseminating the false and misleading statements and information

                          alleged herein;

                 e.       was directly or indirectly involved in the oversight or implementation of

                          the Company’s internal controls;

                 f.       was aware of or recklessly disregarded the fact that the false and

                          misleading statements were being issued concerning the Company; and/or

                 g.       approved or ratified these statements in violation of the federal securities

                          laws.

       14.       Liberty Tax is liable for the acts of the Individual Defendants and its employees

under the doctrine of respondeat superior and common law principles of agency as all of the

wrongful acts complained of herein were carried out within the scope of their employment with

authorization.

       15.       The scienter of the Individual Defendants and other employees and agents of the

Company is similarly imputed to Liberty Tax under respondeat superior and agency principles.

                                  SUBSTANTIVE ALLEGATIONS

                      Defendants’ False and Misleading Class Period Statements

       16.       On June 29, 2016, Liberty Tax filed an annual report on Form 10-K for the fiscal

year ended April 30, 2016 (the “2016 10-K”) with the SEC, which provided the Company’s




                                                   4
Case 2:17-cv-07327-JMA-SIL Document 1 Filed 12/15/17 Page 5 of 21 PageID #: 5



annual financial results and position. The 2016 10-K was signed by Defendants Hewitt and

Donovan. The 2016 10-K contained signed certifications pursuant to the Sarbanes-Oxley Act of

2002 (“SOX”) by Defendants Hewitt and Donovan attesting to the accuracy of financial

reporting, the disclosure of any material changes to the Company’s internal control over financial

reporting and the disclosure of all fraud.

       17.     The 2016 10-K stated the following regarding Defendant Hewitt’s control over

the Company:

       We are controlled by our Chairman and Chief Executive Officer, whose
       interests in our business may be different from those of our stockholders.
            John Hewitt, our Chairman and Chief Executive Officer, currently owns all
       outstanding shares of our Class B common stock. Our Class B common stock has
       the power to elect, voting as a separate class, the minimum number of directors
       that constitute a majority of the Board of Directors. As a result, Mr. Hewitt will,
       for the foreseeable future, have significant influence over our management and
       affairs, given the Board’s authority to appoint or replace our senior management,
       cause us to issue additional shares of our Class A common stock or repurchase
       Class A common stock, declare dividends, or take other actions. Upon Mr.
       Hewitt’s death, pending the effectiveness of a provision of our certificate of
       incorporation that will become effective only after we have conducted an initial
       public offering or certain other triggering events occur, Mr. Hewitt’s estate would
       succeed to these special voting rights. Mr. Hewitt may make decisions regarding
       our Company and business that are opposed to other stockholders’ interests or
       with which they disagree. Mr. Hewitt’s ability to elect a majority of the Board of
       Directors may also delay or prevent a change of control of us, even if that change
       of control would benefit our stockholders, which could deprive an investor of the
       opportunity to receive a premium for your Class A common stock. The power to
       elect a majority of the directors may adversely affect the value of our Class A
       common stock due to investors’ perception that conflicts of interest may exist or
       arise. To the extent that the interests of our other stockholders are harmed by the
       actions of Mr. Hewitt, the price of our Class A common stock may be harmed.
       For information regarding the ownership of our outstanding stock, please see the
       section titled “Item 12-Security Ownership of Certain Beneficial Owners and
       Management and Related Stockholder Matters.”

       18.     The 2016 10-K stated the following regarding the Company’s controls and

procedures:




                                                5
Case 2:17-cv-07327-JMA-SIL Document 1 Filed 12/15/17 Page 6 of 21 PageID #: 6



     Item 9A. Controls and Procedures.
          The Company’s disclosure controls and procedures are designed to provide
     reasonable assurance that information required to be disclosed in the Company’s
     reports filed under the Exchange Act is recorded, processed, summarized, and
     reported within the time periods specified in the SEC’s rules and forms, including,
     without limitation, that such information is accumulated and communicated to
     Company management, including the Company’s principal executive and
     financial officer, as appropriate, to allow timely decisions regarding required
     disclosures.

     Evaluation of Disclosure Controls and Procedures
          The Company, under the supervision and with the participation of the
     Company’s management, including the Company’s Chief Executive Officer and
     the Chief Financial Officer, has evaluated the effectiveness of the Company’s
     disclosure controls and procedures (as defined in Rule 13a-15(e) and 15d-15(e)
     under the Exchange Act) as of April 30, 2016. Based on that evaluation, the Chief
     Executive Officer and Chief Financial Officer concluded that, as of April 30,
     2016, the Company’s disclosure controls and procedures were effective in
     providing reasonable assurance that material information is recorded, processed,
     summarized, and reported by management of the Company on a timely basis in
     order to comply with the Company’s disclosure obligations under the Exchange
     Act and the rules and regulations promulgated thereunder.

     Management’s Report on Internal Control Over Financial Reporting
          Management of the Company is responsible for establishing and maintaining
     adequate internal control over financial reporting (as defined in Rule 13a-15(f)
     and 15d-15(f) under the Exchange Act). The Company’s internal control over
     financial reporting is designed to provide reasonable assurance to the Company’s
     management and Board of Directors regarding the reliability of financial reporting
     and preparation of financial statements for external purposes in accordance with
     GAAP.
          Because of its inherent limitations, internal control over financial reporting
     may not prevent or detect misstatements. Therefore, even those systems
     determined to be effective can provide only reasonable assurance with respect to
     financial statement preparation and presentation.
          Management assessed the effectiveness of the Company’s internal control
     over financial reporting as of April 30, 2016. In making this assessment,
     management used the criteria set forth by the Committee of Sponsoring
     Organizations of the Treadway Commission in Internal Control – Integrated
     Framework (2013). Based on this assessment, management believes that, as
     of April 30, 2016, the Company’s internal control over financial reporting was
     effective based on those criteria.

     Changes in Internal Control over Financial Reporting




                                             6
Case 2:17-cv-07327-JMA-SIL Document 1 Filed 12/15/17 Page 7 of 21 PageID #: 7



           During the quarter ended April 30, 2016, there were no changes that
       materially affected, or are reasonably likely to materially affect, our internal
       control over financial reporting.

       19.     On September 2, 2016, Liberty Tax filed a quarterly report on Form 10-Q for the

quarter ended July 31, 2016 (the “Q1 2017 10-Q”) with the SEC, which provided the Company’s

quarterly financial results and position. The Q1 2017 10-Q was signed by Defendants Hewitt and

Donovan. The Q1 2017 10-Q contained signed SOX certifications by Defendants Hewitt and

Donovan attesting to the accuracy of financial reporting, the disclosure of any material changes

to the Company’s internal control over financial reporting and the disclosure of all fraud.

       20.     The Q1 2017 10-Q stated the following regarding the Company’s controls and

procedures:

       ITEM 4
       CONTROLS AND PROCEDURES
        Evaluation of Disclosure Controls and Procedures
          We, under the supervision and with the participation of our management,
       including our Chief Executive Officer and Chief Financial Officer, have evaluated
       the effectiveness of our disclosure controls and procedures (as defined in
       Rule 13a-15(e) and 15d-15(e) under the Securities Exchange Act of 1934, as
       amended (the “Exchange Act”) as of July 31, 2016. Based on that evaluation, the
       Chief Executive Officer and Chief Financial Officer have concluded that, as
       of July 31, 2016, our disclosure controls and procedures were effective in
       providing reasonable assurance that information required to be disclosed by us in
       the reports that we file or submit under the Exchange Act is recorded, processed,
       summarized and reported by our management on a timely basis in order to
       comply with our disclosure obligations under the Exchange Act and the rules and
       regulations promulgated thereunder.

       21.     On December 9, 2016, Liberty Tax filed a quarterly report on Form 10-Q for the

quarter ended October 31, 2016 (the “Q2 2017 10-Q”) with the SEC, which provided the

Company’s quarterly financial results and position. The Q2 2017 10-Q was signed by

Defendants Hewitt and Donovan. The Q2 2017 10-Q contained signed SOX certifications by

Defendants Hewitt and Donovan attesting to the accuracy of financial reporting, the disclosure of

any material changes to the Company’s internal control over financial reporting and the


                                                 7
Case 2:17-cv-07327-JMA-SIL Document 1 Filed 12/15/17 Page 8 of 21 PageID #: 8



disclosure of all fraud.

        22.     The Q2 2017 10-Q stated the following regarding the Company’s controls and

procedures:


        ITEM 4
        CONTROLS AND PROCEDURES
         Evaluation of Disclosure Controls and Procedures
           We, under the supervision and with the participation of our management,
        including our Chief Executive Officer and Chief Financial Officer, have evaluated
        the effectiveness of our disclosure controls and procedures (as defined in
        Rules 13a-15(e) and 15d-15(e) under the Securities Exchange Act of 1934, as
        amended (the “Exchange Act”), as of October 31, 2016. Based on that evaluation,
        the Chief Executive Officer and Chief Financial Officer have concluded that, as
        of October 31, 2016, our disclosure controls and procedures were effective in
        providing reasonable assurance that information required to be disclosed by us in
        the reports that we file or submit under the Exchange Act is recorded, processed,
        summarized and reported by our management on a timely basis in order to
        comply with our disclosure obligations under the Exchange Act and the rules and
        regulations promulgated thereunder.

        23.     On March 9, 2017, Liberty Tax filed a quarterly report on Form 10-Q for the

quarter ended January 31, 2017 (the “Q3 2017 10-Q”) with the SEC, which provided the

Company’s quarterly financial results and position. The Q3 2017 10-Q was signed by

Defendants Hewitt and Donovan. The Q3 2017 10-Q contained signed SOX certifications by

Defendants Hewitt and Donovan attesting to the accuracy of financial reporting, the disclosure of

any material changes to the Company’s internal control over financial reporting and the

disclosure of all fraud.

        24.     The Q3 2017 10-Q stated the following regarding the Company’s controls and

procedures:

        ITEM 4
        CONTROLS AND PROCEDURES
         Evaluation of Disclosure Controls and Procedures
           We, under the supervision and with the participation of our management,
        including our Chief Executive Officer and Chief Financial Officer, have evaluated
        the effectiveness of our disclosure controls and procedures (as defined in


                                               8
Case 2:17-cv-07327-JMA-SIL Document 1 Filed 12/15/17 Page 9 of 21 PageID #: 9



       Rules 13a-15(e) and 15d-15(e) under the Securities Exchange Act of 1934, as
       amended (the “Exchange Act”), as of January 31, 2017. Based on that evaluation,
       the Chief Executive Officer and Chief Financial Officer have concluded that, as
       of January 31, 2017, our disclosure controls and procedures were effective in
       providing reasonable assurance that information required to be disclosed by us in
       the reports that we file or submit under the Exchange Act is recorded, processed,
       summarized and reported by our management on a timely basis in order to
       comply with our disclosure obligations under the Exchange Act and the rules and
       regulations promulgated thereunder.

       25.     On July 7, 2017, Liberty Tax filed an annual report on Form 10-K for the fiscal

year ended April 30, 2017 (the “2017 10-K”) with the SEC, which provided the Company’s

annual financial results and position. The 2017 10-K was signed by Defendants Hewitt and

Donovan. The 2017 10-K contained signed SOX certifications by Defendants Hewitt and

Donovan attesting to the accuracy of financial reporting, the disclosure of any material changes

to the Company’s internal control over financial reporting and the disclosure of all fraud.

       26.     The 2017 10-K stated the following regarding Defendant Hewitt’s control over

the Company:

       We are controlled by our Chairman and Chief Executive Officer, whose
       interests in our business may be different from those of our stockholders.
            John Hewitt, our Chairman and Chief Executive Officer, currently owns all
       outstanding shares of our Class B common stock. Our Class B common stock has
       the power to elect, voting as a separate class, the minimum number of directors
       that constitute a majority of the Board of Directors. As a result, Mr. Hewitt will,
       for the foreseeable future, have significant influence over our management and
       affairs, given the Board’s authority to appoint or replace our senior management,
       cause us to issue additional shares of our Class A common stock or repurchase
       Class A common stock, declare dividends, or take other actions. Upon Mr.
       Hewitt’s death, pending the effectiveness of a provision of our certificate of
       incorporation that will become effective only after we have conducted an initial
       public offering or certain other triggering events occur, Mr. Hewitt’s estate would
       succeed to these special voting rights. Mr. Hewitt may make decisions regarding
       our Company and business that are opposed to other stockholders’ interests or
       with which they disagree. Mr. Hewitt’s ability to elect a majority of the Board of
       Directors may also delay or prevent a change of control of us, even if that change
       of control would benefit our stockholders, which could deprive an investor of the
       opportunity to receive a premium for your Class A common stock. The power to
       elect a majority of the directors may adversely affect the value of our Class A
       common stock due to investors’ perception that conflicts of interest may exist or


                                                 9
Case 2:17-cv-07327-JMA-SIL Document 1 Filed 12/15/17 Page 10 of 21 PageID #: 10



       arise. To the extent that the interests of our other stockholders are harmed by the
       actions of Mr. Hewitt, the price of our Class A common stock may be harmed.
       For information regarding the ownership of our outstanding stock, please see the
       section titled “Item 12-Security Ownership of Certain Beneficial Owners and
       Management and Related Stockholder Matters.”

       27.    The 2017 10-K stated the following regarding the Company’s controls and

procedures:

       Item 9A. Controls and Procedures.
            The Company’s disclosure controls and procedures are designed to provide
       reasonable assurance that information required to be disclosed in the Company’s
       reports filed under the Exchange Act is recorded, processed, summarized, and
       reported within the time periods specified in the SEC’s rules and forms, including,
       without limitation, that such information is accumulated and communicated to
       Company management, including the Company’s principal executive and
       financial officer, as appropriate, to allow timely decisions regarding required
       disclosures.

       Evaluation of Disclosure Controls and Procedures
            The Company, under the supervision and with the participation of the
       Company’s management, including the Company’s Chief Executive Officer and
       the Chief Financial Officer, has evaluated the effectiveness of the Company’s
       disclosure controls and procedures (as defined in Rules 13a-15(e) and 15d-15(e)
       under the Exchange Act) as of April 30, 2017. Based on that evaluation, the Chief
       Executive Officer and Chief Financial Officer concluded that, as of April 30,
       2017, the Company’s disclosure controls and procedures were effective in
       providing reasonable assurance that information required to be filed by the
       Company in the reports if files or submits under the Exchange Act is recorded,
       processed, summarized, and reported by management of the Company on a timely
       basis in order to comply with the Company’s disclosure obligations under the
       Exchange Act and the rules and regulations promulgated thereunder.

       Management’s Report on Internal Control Over Financial Reporting
            Management of the Company is responsible for establishing and maintaining
       adequate internal control over financial reporting (as defined in Rules 13a-15(f)
       and 15d-15(f) under the Exchange Act). The Company’s internal control over
       financial reporting is designed to provide reasonable assurance to the Company’s
       management and Board of Directors regarding the reliability of financial reporting
       and preparation of financial statements for external purposes in accordance with
       GAAP.
            Because of its inherent limitations, internal control over financial reporting
       may not prevent or detect misstatements. Therefore, even those systems
       determined to be effective can provide only reasonable assurance with respect to
       financial statement preparation and presentation.



                                               10
Case 2:17-cv-07327-JMA-SIL Document 1 Filed 12/15/17 Page 11 of 21 PageID #: 11



            Management assessed the effectiveness of the Company’s internal control
       over financial reporting as of April 30, 2017. In making this assessment,
       management used the criteria set forth by the Committee of Sponsoring
       Organizations of the Treadway Commission in Internal Control – Integrated
       Framework (2013). Based on this assessment, management believes that, as
       of April 30, 2017, the Company’s internal control over financial reporting was
       effective based on those criteria.

       Changes in Internal Control over Financial Reporting
           During the quarter ended April 30, 2017, there were no changes that
       materially affected, or are reasonably likely to materially affect, our internal
       control over financial reporting.

       28.     On September 11, 2017, Liberty Tax filed a quarterly report on Form 10-Q for the

quarter ended July 31, 2017 (the “Q1 2018 10-Q”) with the SEC, which provided the Company’s

quarterly financial results and position. The Q1 2018 10-Q was signed by Defendants Brunot and

Donovan. The Q1 2018 10-Q contained signed SOX certifications by Defendants Brunot and

Donovan attesting to the accuracy of financial reporting, the disclosure of any material changes

to the Company’s internal control over financial reporting and the disclosure of all fraud.

       29.     The Q1 2018 10-Q stated the following regarding the Company’s controls and

procedures:

       ITEM 4
       CONTROLS AND PROCEDURES
       Evaluation of Disclosure Controls and Procedures
            We, under the supervision and with the participation of our management, including
       our Chief Executive Officer and Chief Financial Officer, have evaluated the effectiveness
       of our disclosure controls and procedures (as defined in Rules 13a-15(e) and 15d-15(e)
       under the Securities Exchange Act of 1934, as amended (the “Exchange Act”), as
       of July 31, 2017. Based on that evaluation, the Chief Executive Officer and Chief
       Financial Officer have concluded that, as of July 31, 2017, our disclosure controls and
       procedures were effective in providing reasonable assurance that information required to
       be disclosed by us in the reports that we file or submit under the Exchange Act is
       recorded, processed, summarized and reported by our management on a timely basis in
       order to comply with our disclosure obligations under the Exchange Act and the rules and
       regulations promulgated thereunder.




                                                11
Case 2:17-cv-07327-JMA-SIL Document 1 Filed 12/15/17 Page 12 of 21 PageID #: 12



       30.     The statements referenced in ¶¶ 16-29 above were materially false and/or

misleading because they misinterpreted and failed to disclose the following adverse facts

pertaining to the Company’s business and operations which were known to Defendants or

recklessly disregarded by them. Specifically, Defendants made false and/or misleading

statements and/or failed to disclose that: (1) Liberty Tax’s former CEO Defendant Hewitt created

an inappropriate tone at the top; (2) the inappropriate tone at the top led to ineffective entity level

controls over the organization; and (3) as a result, Defendants’ statements about Liberty Tax’s

business, operations and prospects were materially false and misleading and/or lacked a

reasonable basis at all relevant times.

                                          The Truth Emerges

       31.     On November 7, 2017, Liberty Tax filed a Form 8-K with the SEC during

aftermarket hours announcing the abrupt resignation of Defendant Donovan as CFO.

       32.     On this news, shares of Liberty Tax fell $2.25 per share or over 16% from its

previous closing price to close at $11.00 per share on November 8, 2017, damaging investors.

       33.     On December 11, 2017, Liberty Tax filed a Form 8-K with the SEC announcing

the sudden resignation of KPMG LLP as its independent registered public accounting firm and

the delay in the filing of its quarterly report on Form 10-Q for the quarter ended October 31,

2017, stating in part:

       Item 4.01. Changes in Registrants Certifying Accountant.

       On December 8, 2017, KPMG LLP (“KPMG”) resigned as the independent
       registered public accounting firm of Liberty Tax, Inc. (the “Company”), effective
       immediately, and KPMG’s resignation was accepted and approved by the Audit
       Committee of the Board of Directors of the Company (the “Board”).

                                           *      *       *
       KPMG expressed to the Audit Committee and Company management its
       concern that the actions of former Chief Executive Officer John T. Hewitt, who


                                                  12
Case 2:17-cv-07327-JMA-SIL Document 1 Filed 12/15/17 Page 13 of 21 PageID #: 13



      remains the Chairman of the Board and controlling stockholder as the sole
      holder of the Company’s outstanding Class B common stock, have created an
      inappropriate tone at the top which leads to ineffective entity level controls over
      the organization. Prior to the termination of Mr. Hewitt’s employment as Chief
      Executive Officer of the Company on September 5, 2017, the Audit Committee
      oversaw an investigation of allegations of misconduct by Mr. Hewitt. In
      particular, KPMG noted that Mr. Hewitt took actions to replace two independent
      members of the Board around the time information relating to this investigation
      appeared in media reports. KPMG also noted that following the replacement by
      Mr. Hewitt of two Class B directors, the chair of the Audit Committee retired
      from the Board, the Company’s Chief Financial Officer announced her intention
      to resign from the Company, and another independent member of the Board
      announced that he would not stand for reelection at the Company’s next annual
      meeting. Further, KPMG was made aware that following his termination as Chief
      Executive Officer, Mr. Hewitt may have continued to interact with franchisees
      and area developers of the Company. Although Mr. Hewitt stated to KPMG
      during a meeting on November 9, 2017 that he would not reinsert himself into
      the management of the Company, in light of Mr. Hewitt’s actions and his ability
      to control the Board as the sole holder of the Class B common stock, KPMG
      informed the Audit Committee and management that it has concerns regarding
      the Company’s internal control over financial reporting as related to integrity
      and tone at the top and such matters should be evaluated as potential material
      weaknesses.

      Specifically, KPMG informed the Audit Committee and management that Mr.
      Hewitt’s past and continued involvement in the Company’s business and
      operations, including his continued interactions with franchisees and area
      developers of the Company, has led it to no longer be able to rely on
      management’s representations, and therefore has caused KPMG to be
      unwilling to be associated with the Company’s consolidated financial
      statements. In notifying the Company of its resignation, KPMG advised the
      Audit Committee and management that it is not aware of any information that
      cause it to question the integrity of current management, but rather that the
      structural arrangement by which Mr. Hewitt controls the Company is the cause of
      KPMG’s concerns. KPMG also noted that because certain information known to
      the Board regarding the reasons that the Board terminated Mr. Hewitt as Chief
      Executive Officer had not been disclosed to the current Chief Executive Officer
      and Chief Financial Officer, KPMG was uncertain as to whether it could continue
      to rely on management’s representations.

                                       *      *       *

      Item 8.01. Other Events.

      On December 11, 2017, the Company issued a press release announcing the
      resignation of KPMG as the Company’s independent registered public accounting
      firm and that the Company will delay the filing of its Quarterly Report on Form


                                              13
Case 2:17-cv-07327-JMA-SIL Document 1 Filed 12/15/17 Page 14 of 21 PageID #: 14



       10-Q for the quarter ended October 31, 2017. A copy of the press release is
       attached hereto as Exhibit 99.1 to this Current Report on Form 8-K and is
       incorporated herein by reference.

       [Emphasis added].

       34.     On this news, shares of the Company fell $0.80 per share or over 6% from its

previous closing price to close at $11.15 per share on December 11, 2017, further damaging

investors.

       35.     As a result of Defendants’ wrongful acts and omissions, and the precipitous

decline in the market value of the Company’s common shares, Plaintiff and other Class members

have suffered significant losses and damages.

                     PLAINTIFF’S CLASS ACTION ALLEGATIONS

       36.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who purchased or

otherwise acquired the publicly traded securities of Liberty Tax during the Class Period (the

“Class”); and were damaged upon the revelation of the alleged corrective disclosure. Excluded

from the Class are Defendants herein, the officers and directors of the Company, at all relevant

times, members of their immediate families and their legal representatives, heirs, successors or

assigns and any entity in which Defendants have or had a controlling interest.

       37.     The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, the Company’s securities were actively traded on

NASDAQ. While the exact number of Class members is unknown to Plaintiff at this time and

can be ascertained only through appropriate discovery, Plaintiff believes that there are hundreds

or thousands of members in the proposed Class. Record owners and other members of the Class

may be identified from records maintained by the Company or its transfer agent and may be




                                                14
Case 2:17-cv-07327-JMA-SIL Document 1 Filed 12/15/17 Page 15 of 21 PageID #: 15



notified of the pendency of this action by mail, using the form of notice similar to that

customarily used in securities class actions.

       38.     Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein.

       39.     Plaintiff will fairly and adequately protect the interests of the members of the

Class and has retained counsel competent and experienced in class and securities litigation.

Plaintiff has no interests antagonistic to or in conflict with those of the Class.

       40.     Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

       (a)     whether Defendants’ acts as alleged violated the federal securities laws;

       (b)     whether Defendants’ statements to the investing public during the Class Period

               misrepresented material facts about the financial condition, business, operations,

               and management of the Company;

       (c)     whether Defendants’ statements to the investing public during the Class Period

               omitted material facts necessary to make the statements made, in light of the

               circumstances under which they were made, not misleading;

       (d)     whether the Individual Defendants caused the Company to issue false and

               misleading SEC filings and public statements during the Class Period;

       (e)     whether Defendants acted knowingly or recklessly in issuing false and misleading

               SEC filings and public statements during the Class Period;




                                                  15
Case 2:17-cv-07327-JMA-SIL Document 1 Filed 12/15/17 Page 16 of 21 PageID #: 16



        (f)       whether the prices of the Company’s securities during the Class Period were

                  artificially inflated because of the Defendants’ conduct complained of herein; and

        (g)       whether the members of the Class have sustained damages and, if so, what is the

                  proper measure of damages.

        41.       A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as

the damages suffered by individual Class members may be relatively small, the expense and

burden of individual litigation make it impossible for members of the Class to individually

redress the wrongs done to them. There will be no difficulty in the management of this action as

a class action.

        42.       Plaintiff will rely, in part, upon the presumption of reliance established by the

fraud-on-the-market doctrine in that:

        (a)       Defendants made public misrepresentations or failed to disclose material facts

                  during the Class Period;

        (b)       the omissions and misrepresentations were material;

        (c)       the Company’s securities are traded in efficient markets;

        (d)       the Company’s securities were liquid and traded with moderate to heavy volume

                  during the Class Period;

        (e)       the Company traded on the NASDAQ, and was covered by multiple analysts;

        (f)       the misrepresentations and omissions alleged would tend to induce a reasonable

                  investor to misjudge the value of the Company’s securities; Plaintiff and members

                  of the Class purchased and/or sold the Company’s securities between the time the

                  Defendants failed to disclose or misrepresented material facts and the time the




                                                   16
Case 2:17-cv-07327-JMA-SIL Document 1 Filed 12/15/17 Page 17 of 21 PageID #: 17



                true facts were disclosed, without knowledge of the omitted or misrepresented

                facts; and

        (g)     Unexpected material news about the Company was rapidly reflected in and

                incorporated into the Company’s stock price during the Class Period.

        43.     Based upon the foregoing, Plaintiff and the members of the Class are entitled to a

presumption of reliance upon the integrity of the market.

        44.     Alternatively, Plaintiff and the members of the Class are entitled to the

presumption of reliance established by the Supreme Court in Affiliated Ute Citizens of the State

of Utah v. United States, 406 U.S. 128, 92 S. Ct. 2430 (1972), as Defendants omitted material

information in their Class Period statements in violation of a duty to disclose such information,

as detailed above.

                                            COUNT I

                Violation of Section 10(b) of The Exchange Act and Rule 10b-5
                                    Against All Defendants

        45.     Plaintiff repeats and realleges each and every allegation contained above as if

fully set forth herein.

        46.     This Count is asserted against the Company and the Individual Defendants and is

based upon Section 10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated

thereunder by the SEC.

        47.      During the Class Period, the Company and the Individual Defendants,

individually and in concert, directly or indirectly, disseminated or approved the false statements

specified above, which they knew or deliberately disregarded were misleading in that they

contained misrepresentations and failed to disclose material facts necessary in order to make the

statements made, in light of the circumstances under which they were made, not misleading.



                                                17
Case 2:17-cv-07327-JMA-SIL Document 1 Filed 12/15/17 Page 18 of 21 PageID #: 18



       48.     The Company and the Individual Defendants violated §10(b) of the 1934 Act and

Rule 10b-5 in that they: employed devices, schemes and artifices to defraud; made untrue

statements of material facts or omitted to state material facts necessary in order to make the

statements made, in light of the circumstances under which they were made, not misleading;

and/or engaged in acts, practices and a course of business that operated as a fraud or deceit upon

plaintiff and others similarly situated in connection with their purchases of the Company’s

securities during the Class Period.

       49.     The Company and the Individual Defendants acted with scienter in that they knew

that the public documents and statements issued or disseminated in the name of the Company

were materially false and misleading; knew that such statements or documents would be issued

or disseminated to the investing public; and knowingly and substantially participated, or

acquiesced in the issuance or dissemination of such statements or documents as primary

violations of the securities laws. These defendants by virtue of their receipt of information

reflecting the true facts of the Company, their control over, and/or receipt and/or modification of

the Company’s allegedly materially misleading statements, and/or their associations with the

Company which made them privy to confidential proprietary information concerning the

Company, participated in the fraudulent scheme alleged herein.

       50.      Individual Defendants, who are the senior officers and/or directors of the

Company, had actual knowledge of the material omissions and/or the falsity of the material

statements set forth above, and intended to deceive Plaintiff and the other members of the Class,

or, in the alternative, acted with reckless disregard for the truth when they failed to ascertain and

disclose the true facts in the statements made by them or other personnel of the Company to

members of the investing public, including Plaintiff and the Class.




                                                 18
Case 2:17-cv-07327-JMA-SIL Document 1 Filed 12/15/17 Page 19 of 21 PageID #: 19



        51.     As a result of the foregoing, the market price of the Company’s securities was

artificially inflated during the Class Period. In ignorance of the falsity of the Company’s and the

Individual Defendants’ statements, Plaintiff and the other members of the Class relied on the

statements described above and/or the integrity of the market price of the Company’s securities

during the Class Period in purchasing the Company’s securities at prices that were artificially

inflated as a result of the Company’s and the Individual Defendants’ false and misleading

statements.

        52.     Had Plaintiff and the other members of the Class been aware that the market price

of the Company’s securities had been artificially and falsely inflated by the Company’s and the

Individual Defendants’ misleading statements and by the material adverse information which the

Company’s and the Individual Defendants did not disclose, they would not have purchased the

Company’s securities at the artificially inflated prices that they did, or at all.

        53.     As a result of the wrongful conduct alleged herein, Plaintiff and other members

of the Class have suffered damages in an amount to be established at trial.

        54.     By reason of the foregoing, the Company and the Individual Defendants have

violated Section 10(b) of the 1934 Act and Rule 10b-5 promulgated thereunder and are liable to

the Plaintiff and the other members of the Class for substantial damages which they suffered in

connection with their purchases of the Company’s securities during the Class Period.

                                              COUNT II

                         Violation of Section 20(a) of The Exchange Act
                               Against The Individual Defendants

        55.     Plaintiff repeats and realleges each and every allegation contained in the

foregoing paragraphs as if fully set forth herein.




                                                   19
Case 2:17-cv-07327-JMA-SIL Document 1 Filed 12/15/17 Page 20 of 21 PageID #: 20



       56.     During the Class Period, the Individual Defendants participated in the operation

and management of the Company, and conducted and participated, directly and indirectly, in the

conduct of the Company’s business affairs. Because of their senior positions, they knew the

adverse non-public information regarding the Company’s business practices.

       57.     As officers and/or directors of a publicly owned company, the Individual

Defendants had a duty to disseminate accurate and truthful information with respect to the

Company’s financial condition and results of operations, and to correct promptly any public

statements issued by the Company which had become materially false or misleading.

       58.     Because of their positions of control and authority as senior officers, the

Individual Defendants were able to, and did, control the contents of the various reports, press

releases and public filings which the Company disseminated in the marketplace during the Class

Period. Throughout the Class Period, the Individual Defendants exercised their power and

authority to cause the Company to engage in the wrongful acts complained of herein. The

Individual Defendants therefore, were “controlling persons” of the Company within the meaning

of Section 20(a) of the Exchange Act. In this capacity, they participated in the unlawful conduct

alleged which artificially inflated the market price of the Company’s securities.

       59.     Each of the Individual Defendants, therefore, acted as a controlling person of the

Company. By reason of their senior management positions and/or being directors of the

Company, each of the Individual Defendants had the power to direct the actions of, and

exercised the same to cause, the Company to engage in the unlawful acts and conduct

complained of herein. Each of the Individual Defendants exercised control over the general

operations of the Company and possessed the power to control the specific activities which




                                                20
Case 2:17-cv-07327-JMA-SIL Document 1 Filed 12/15/17 Page 21 of 21 PageID #: 21



comprise the primary violations about which Plaintiff and the other members of the Class

complain.

       60.        By reason of the above conduct, the Individual Defendants are liable pursuant to

Section 20(a) of the Exchange Act for the violations committed by the Company.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment against Defendants as follows:

       A.         Determining that the instant action may be maintained as a class action under

Rule 23 of the Federal Rules of Civil Procedure, and certifying Plaintiff as the Class

representative;

       B.         Requiring Defendants to pay damages sustained by Plaintiff and the Class by

reason of the acts and transactions alleged herein;

       C.         Awarding Plaintiff and the other members of the Class prejudgment and post-

judgment interest, as well as their reasonable attorneys’ fees, expert fees and other costs; and

       D.         Awarding such other and further relief as this Court may deem just and proper.

                                 DEMAND FOR TRIAL BY JURY

       Plaintiff hereby demands a trial by jury.

Dated: December 15, 2017                                Respectfully submitted,

                                                        THE ROSEN LAW FIRM, P.A.

                                                        By: _/s/Phillip Kim
                                                        Laurence M. Rosen, Esq. (LR 5733)
                                                        Phillip Kim, Esq. (PK 9384)
                                                        275 Madison Avenue, 34th Floor
                                                        New York, NY 10016
                                                        Telephone: (212) 686-1060
                                                        Fax: (212) 202-3827
                                                        Email: lrosen@rosenlegal.com
                                                                pkim@rosenlegal.com

                                                        Counsel for Plaintiff


                                                   21
